
The Chancellor.
This bill was originally filed by Lev* Peacock and his wife Lettis, who sued by her next friend, to recover of John and Thomas Black, as executors of Daniel New-bold, deceased, the amount of a legacy given by John Iiollinshead, deceased, to the said Lettis Peacock, who was his daughter, and Daniel Newbold was acting executor of said Hollinshead, deceased. The defendants, in their answer, insist that Daniel Newbold, in his life time, paid this legacy to Levi Peacock or his wife ; and the decision of the case depends upon the evidence-as to the truth of this defence.
It appears that John Hollinshead died in eighteen hundred and one. His will is dated April twenty fifth, and was proved May eleventh, of that year. After making several .devises, he gives the residue of his estate to his daughter Lettis, and his daughter Elizabeth’s children ; one half to Lettis, and the other half to be placed out at interest for her use during her life, and then to her children, &amp;c.
This estate was settled in the orphan’s court in eighteen hundred and eight by auditors, and the balance in the hands of the executor ascertained to be six thousand and six dollars and eighty two cents; for the half of which, with interest from that time, the complainants claim the decree of this court.
Daniel Newbold, the executor, died in eighteen hundred and fifteen. The bill in this case was filed in eighteen hundred and thirty-two, which is thirty-one years after the death of the testa tor under whom the complainants claim — twenty four years after the' estate was settled, and the amount of the legacy thereby as" certained — and seventeen years after the death of Daniel New-bold, the executor.
There is no positive evidence of payment, but the defendants rely upon the presumption of payment arising from the time which has elapsed since the right of action accrued, which presumption they allege is strengthened by the further evidence which will be hereafter adverted to.
If the case rested upon the above stated facts, unexplained by any evidence on the part of the complainant to account for the *71delay, I should be disposed to give effect to the defence of the defendants.
In the case of Ellison v. Representatives of Moffat, 1 John. Chan. R. 46, where the bill was filed for an account upon transactions before the revolutionary war, which were interrupted by that war, the chancellor observes, “ The parties lived in the same county, and without accounting for the delay, the complainant suffered a period of twenty-six years to elapse from the termination of the war to the time of filing his bill. It would not be sound discretion to overhaul accounts in favor of a parry who has slept on his rights for such a length of time, especially against the representatives of the other party, who have no knowledge of the original transaction.”
And in the case of Jones v. Turberville, 2 Vesey, jr. 11, lord commissioner Eyre remarks, that at law claims are presumed satisfied after a certain lapse of time, and “ courts of equity would do very ill by not adopting this rule. So essential is it to general justice, that though the presumption has often happened to be against the truth of the fact, yet it is better for the ends of general justice that the presumption should be made and favored, and not be easily rebutted, than to let in slight evidence of demands of this nature, from which infinite mischief and injustice might arise.”
I approve the doctrine of these cases. But it is not necessary, in this case, to rely entirely upon the length of time, to raise the presumption of payment. That presumption is very much strengthened by the evidence in the case. It appears that about ten years after the death of Ilollinshead, Newbold obtained a judgment against Levi Peacock for a large amount, and sold his farm and goods; and after the death of Newbold, his executors, the above named defendants, also obtained a judgment against Levi Peacock before a justice; and it is most manifest from the evidence, that Levi Peacock became intemperate soon after the estate of Ilollinshead was settled, and that ho was poor at the time of the death of Daniel Newbold, who was in good circumstances.
*72These circumstances are in aid of the presumption of payment ; and I can find no evidence which tends to explain the delay on the part of the complainants. I can hardly consider it possible, that a man situated as Mr. Peacock was, should allow so long a time to elapse without recovering this legacy, and not be able to show some satisfactory cause for the delay. But so far from accounting for the delay, the direct evidence in the cause strongly confirms the presumption of payment.
Joseph Hilliard, testifies that he had heard Lettis Peacock say “ that she expected her legacy would have been more; she expected her father’s estate was so large that she would have had more than she had had. She did not say it had been paid, but witness supposed from what she said that it had been settled, and that the amount was smaller than she had expected.”
Alanson White testifies, that since the sale of Peacock’s place by the sheriff, he, Peacock, rode up to Mount Holly with him, and said he was going to settle with Daniel Newbold, or with his estate, and when he returned informed witness that he had closed the settlement that day.
George Early testifies that since the sale he has heard Peacock and Newbold talking upon the subject. Peacock said, “ that affair of Lettis, my wife, is settled at last, after so long time, and done with.” And both Peacock and Newbold said that “ they were glad that matter about the wife’s legacy was settled and done with.”
There is other testimony of a similiar import, but from this I am entirely satisfied, that in the negociations between New-bold and Peacock, this legacy has been settled; and I have no fear that the presumption of law, in this case, will be in opposition to the fact.
Let the bill be dismissed, with costs.*
Decree accordingly.

 The decree in this cause was unanimously affirmed, except as to costs, by the court of errors and appeals, at November term, eighteen hundred and forty-five. The parties were directed to pay each their own costs, in the court below and on the appeal.
Afitbmed, 1 Hal. ch. 535.
Cited in Black and Whitall; 1 Stock. 586-589.

